            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 1 of 29




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS


SYDNEY NICOLE LLC                                §
AND SYDNEY NICOLE                                §
GIFFORD,                                         §
                                                 §
        Plaintiffs,                                                CIVIL ACTION NO.:
                                                 §
v.                                               §                 1:24-cv-423
ALYSSA SHEIL LLC AND                             §
ALYSSA SHEIL,                                    §
                                                 §                 JURY
        Defendants.                              §
                                                 §

                               PLAINTIFFS’ ORIGINAL COMPLAINT
        Plaintiffs Sydney Nicole Gifford and Sydney Nicole LLC file this Plaintiffs’ Original

Complaint against Defendants Alyssa Sheil and Alyssa Sheil LLC. Based on actual knowledge

with respect to Plaintiffs and Plaintiffs’ own acts, and on information and belief as to all other

persons and matters, Plaintiffs hereby allege as follows:

                                            PARTIES

1.      Plaintiff Sydney Nicole LLC is a limited liability company organized under the laws of

     the state of Texas.

2.      Plaintiff Sydney Nicole Gifford (“Sydney”) is a U.S. citizen and an individual resident of

     Austin, Travis County, Texas.

3.      Defendant Alyssa Sheil LLC is a limited liability company organized under the laws of

     the state of Texas. Defendant Alyssa Sheil LLC may be served through its registered agent at

     its registered office, 1001 Beth Page Drive Hutto, Williamson County, Texas 78634.




                                                 1
           Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 2 of 29




4.      Defendant Alyssa Sheil (“Alyssa”) is an individual resident of Williamson County,

     Texas. Alyssa may be served with citation at her domicile, 1001 Beth Page Drive, Hutto,

     Williamson County, Texas 78634, or wherever she may be found.

                                  JURISDICTION & VENUE

5.      This Court has jurisdiction over the lawsuit under 28 U.S.C. § 1338 because this is an

     action for, inter alia, copyright infringement and violation of the Digital Millennium

     Copyright Act under Title 17 of the United States Code. This Court has jurisdiction over

     Plaintiffs’ state and common law claims under 28 U.S.C. § 1367 because all claims asserted

     herein form part of the same case or controversy.

6.      This Court has personal jurisdiction over Defendants because Defendant Alyssa Sheil is a

     resident of Williamson County, Texas and Defendant Alyssa Sheil LLC is an entity

     organized under the laws of the state of Texas having a principal place of business in

     Williamson County, Texas. Venue is proper under 28 U.S.C. § 1391(b).

                            FACTS COMMON TO ALL COUNTS

7.      Plaintiff Sydney Nicole Gifford is an influencer who has attracted over half a million

     followers across various online and social media platforms, including Amazon Storefront and

     bio.site under the username “Sydney Nicole”, and Instagram and TikTok under the username

     @sydneynicolegiff (collectively, “Plaintiffs’ Platforms”). Plaintiff Sydney Nicole LLC is the

     vehicle through which Sydney conducts her business.

8.      Defendant Alyssa Sheil is also an influencer who manages various online and social

     media accounts, including Amazon Storefront and bio.site under the username “Alyssa

     Sheil”, Instagram under the username @alyssasheill, and TikTok under the username



                                                 2
             Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 3 of 29




      “@alyssasheil” (collectively, “Defendants’ Platforms”). Defendant Alyssa Sheil LLC is the

      vehicle through which Alyssa Sheil conducts her business.

9.       The burgeoning influencer industry allows content creators such as Sydney to foster their

      own unique brand identity and curate, promote, or recommend goods and services to others.

      Promoting and curating thoughtful lists of goods and services is the center of many

      influencers’ business. The success of an influencer’s business largely depends on their ability

      to differentiate themselves from other influencers through (i) cultivating a unique brand

      identity, (ii) establishing trust and credibility with their audience, and (iii) researching,

      assessing, and promoting goods and services that appeal to their audience.

10.      Over the past five years, Sydney has devoted hundreds of hours establishing her unique

      brand identity and credibility on Plaintiffs’ Platforms and has grown her business into a

      multi-thousand dollar operation. In particular, Sydney has become well-known for promoting

      certain goods from Amazon, including household goods, apparel, and accessories, through

      original photo and video works created by Sydney.

11.      On average, Sydney spends upwards of ten hours a day, seven days a week, researching

      unique products and services that may fit her brand identity, testing and assessing those

      products and services, styling photos and videos promoting such products and services, and

      editing posts for Plaintiffs’ Platforms.

12.      Sydney is the owner of each of her copyrighted photos, videos, and accompanying text

      and has been awarded Registration No. VA 2-380-575 for 140 copyrighted photos with the

      U.S. Copyright Office and at least the following registrations for video works (collectively

      with VA 2-380-575, the “Registered Works”):




                                                  3
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 4 of 29




         a. Reg. No. PAu 4-211-810 for a video titled “One Home Find You Need From
            Amazon”
         b. Reg. No. PA 2-462-341 for a video titled “AcrylicPanner.2023.04.17”
         c. Reg. No. PA 2-462-344 for a video titled “BagsHaul.2023.12.18”
         d. Reg. No. PA 2-462-346 for a video titled “CheckeredSet.2023.03.03”
         e. Reg. No. PA 2-462-351 for a video titled “BowTray.2023.01.15”
         f. Reg. No. PA 2-462-357 for a video titled “Loungewear.2023.10.11”
         g. Reg. No. PA 2-462-360 for a video titled “MakeupBag.2023.03.18”
         h. Reg. No. PA 2-462-362 for a video titled “PhoneCases.2023.10.22”
         i. Reg. No. PA 2-462-364 for a video titled “OliveTree.2023.06.01”
         j. Reg. No. PA 2-462-366 for a video titled “GiftsUnder50.2023.12.05”
         k. Reg. No. PA 2-462-374 for a video titled “ClosetReset.2023.01.02”
         l. Reg. No. PA 2-462-375 for a video titled “TheTox.2023.10.19”
         m. Reg. No. PA 2-462-377 for a video titled “TeddyBench.2022.11.07”
         n. Reg. No. PA 2-462-378 for a video titled “GiftsforHim.2023.11.10”
         o. Reg. No. PA 2-462-380 for a video titled “DreamPairs.2023.12.01”
         p. Reg. No. PA 2-462-382 for a video titled “FashionHaul.2023.01.18”
         q. Reg. No. PA 2-462-383 for a video titled “LampSetUp.2023.01.28”
         r. Reg. No. PA 2-462-385 for a video titled “FlowerTop.2023.05.20”

13.      As set forth in further detail herein and in Exhibit A, Defendants have infringed upon

      numerous of the Registered Works.

14.      On or around December 7, 2022, Sydney first met Defendant Alyssa Sheil in person in

      Austin, Texas. The parties met with the intent of supporting one another’s business. On or

      around January 23, 2023, the parties again met in person to conduct a photoshoot together for

      the purpose of posting on their respective accounts. A few days later, Alyssa blocked Sydney

      from viewing her content on Instagram and TikTok.

15.      Around this time, the content posted on Defendants’ Platforms changed ostensibly.

      Defendants began to publish posts that replicated the neutral, beige, and cream aesthetic of



                                                  4
             Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 5 of 29




      Plaintiffs’ brand identity, featured the same or substantially Amazon products promoted by

      Plaintiffs, and contained styling and textual captions replicating those of Plaintiffs’ posts.

                                             INSTAGRAM

16.      Defendants, by and through the Instagram account @alyssasheill, have infringed on

      Plaintiffs’ Registered Works by replicating photos, videos, products, captions, and styling of

      myriad Plaintiffs’ posts on the @sydneynicolegiff Instagram account, which include content

      within the Registered Works as set forth in Exhibit A, pp. 14-25.

17.      For example, on October 19, 2023, Plaintiffs posted a video of Sydney visiting an

      institution called The Tox Shop in Austin, Texas as part of the shop’s invite-only, early

      access offer to Sydney during an “Influencer Week.” Plaintiffs’ video featured footage of the

      doormat at the store’s entrance branded “The Tox”, a rack of clothing in the store, a neon

      light décor, and footage of Sydney receiving a cosmetic treatment. Plaintiffs’ video is

      registered with the U.S. Copyright Office under PA 2-462-375.

18.      On or around November 3, 2023, two weeks after Influencer Week, Defendants posted a

      photo of Alyssa going to the very same institution featuring nearly identical footage of the

      doormat at the store’s entrance branded “The Tox”, the rack of clothing in the store, thee

      neon light décor, and footage of Alyssa receiving a cosmetic treatment, a still of which is

      displayed below and links to which are provided in Exhibit A:




                                                    5
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 6 of 29




19.      The examples provided herein are a mere sample of the posts published by Defendants

      that copy material posted by Plaintiffs anywhere from days to months prior. Screen captures

      and links of the above-referenced and additional infringing Instagram posts are shown in Ex.

      A, at pp. 14-25.

                                            TIK TOK

20.      Defendants have replicated Plaintiffs’ posts on TikTok as well. For example, on or

      around December 12, 2023, Plaintiffs posted a slideshow of photos on TikTok featuring,

      inter alia, (1) the in-video title “my best amazon home purchases of 2023” with a row of

      neural-beige emojis above the text, (2) home office décor, (3) a cream Nespresso® machine

      and rimmed glasses, (4) a cream nonstick pan set, (5) acrylic calendars used for meal

      planning, (6) a wave patterned rug, and (7) round stacking tables. The photos contained in




                                                 6
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 7 of 29




      Plaintiffs’ post are registered with the U.S. Copyright Office under Reg. No.

      VA0002380575:




21.      Two days later, on December 14, 2023, Defendants posted a nearly identical slideshow of

      photos on TikTok featuring, inter alia, (1) the in-video title “my best amazon home

      purchases of 2023” with a row of neural-beige emojis above the text, (2) home office décor,

      (3) the same or substantially similar cream Nespresso® machine and rimmed glasses, (4) the

      same or substantially similar cream nonstick pan set, (5) the same or substantially similar

      acrylic calendars used for meal planning, (6) the same or substantially similar a wave

      patterned rug, and (7) the same or substantially similar round stacking tables, photos of

      which are displayed:




                                                 7
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 8 of 29




22.      Plaintiffs’ slideshow received over one million views on TikTok as of the time of this

      filing. Defendants’ slideshow had received at least 350,000 views on TikTok prior to being

      removed by TikTok pursuant to a copyright infringement report.

23.      Defendants have also posted videos of Alyssa modeling women’s apparel using the same

      products and styling as videos earlier posted by Plaintiffs, including a beige skirt and

      strapless top set. In these posts, Alyssa mimics not only the products themselves, but also

      Sydney’s poses and styling of the apparel.

24.      For example, on or around March 1, 2023, Plaintiffs posted a photo of Sydney wearing a

      beige skirt and strapless top set, which is registered with the U.S. Copyright Office as VA

      0002380575. Sydney paired the set with a flower clip around her neck and white cowboy



                                                   8
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 9 of 29




      boots, neither of which were sold with the promoted skirt set. On March 17, 2023,

      Defendants posted a video of Alyssa wearing and promoting the same skirt set in the same

      color. Defendants also paired the set with a flower necklace and white cowboy boots, as

      displayed below:




                                    AMAZON STOREFRONT

25.      On information and belief, Defendants have copied posts by Plaintiffs on not only

      TikTok and Instagram, but on Amazon Storefront as well. Amazon Storefront is a

      customizable webpage that permits followers of a certain influencer to peruse and shop for

      all product recommendations posted by the influencer. Influencers may post photos, videos,

      and create “Idea Lists” on their Amazon Storefront page. An Idea List is a curated list created

      by an influencer that can be organized by any category the influencer wishes to organize the

      list. For example, an influencer may curate kitchen tools and utensils in a list they title

      “Kitchen” and women’s apparel in a list titled “Clothing.”




                                                  9
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 10 of 29




26.       Defendants have engaged and continue to engage in a pattern of replicating Plaintiffs’

      Idea Lists within days of Plaintiffs’ posting. For example, on or around November 2023,

      Plaintiffs created a list called “CYB MON – HOME” for Amazon deals. By November 28,

      2023 Defendants also created a list called “CYBER MONDAY [HOME/KITCHEN]”

      including a substantial number of the exact products listed on Plaintiffs’ list, including, for

      example, a “Bojoy” brand full length wave mirror, a “famiware” brand four-piece white

      pasta bowl set, “Ezvalo” brand puck lights with remote control features, a “Repricone” brand

      buffalo checkboard grid throw blanket, and at least two dozen other of the exact same

      products featured in Plaintiffs’ list, as displayed:




27.       Further, Defendants have copied posts by Plaintiffs on Amazon Storefront. For example,

      on or around November 21, 2023, Plaintiffs posted on Amazon Storefront a photo of Sydney

      wearing a women’s two-piece cream colored sweater set, which is registered with the U.S.

      Copyright Office as VA 0002380575, with a link to the product on Amazon. On or around


                                                    10
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 11 of 29




      five days later, Defendants posted a photo on Amazon Storefront of Alyssa wearing and

      promoting the same cream-colored sweater set, with a link to the same product on Amazon:




28.      Defendants’ pattern of copying and promoting the very same products posted by

      Plaintiffs has extended to wooden coffee tables, women’s clothing, including a sweat set and

      a fleece jacket, and cookware sets. Screen captures of the Amazon Storefront posts are shown

      in Ex. A, at pp. 2-13, 43, 46.

                                       BIO.SITE WEBSITES

29.      Defendants have replicated Plaintiffs’ websites that are linked through TikTok and

      Instagram. On or around May 27, 2022, Plaintiffs created two websites through bio.site for

      TikTok and Instagram in order to provide followers with links to the promoted products. The

      bio.site platform permits users to customize their websites’ backgrounds, font, caption, and

      links Screen captures of Plaintiffs’ websites are displayed below:




                                                  11
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 12 of 29




30.      On December 15, 2023, Defendants created two websites through bio.site nearly identical

      to Plaintiffs’ websites, including a similar beige background, link to the influencer’s Amazon

      Storefront website, capitalized sans serif font, caption, and emoji. Screen captures of

      Defendants’ websites prior to and after December 15, 2023 are displayed below:




                                                 12
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 13 of 29




                                              APPAREL

31.      On or around September 20, 2023, Plaintiffs published their own brand of apparel

      through Amazon’s Merch on Demand platform, which permits users to create their own

      designs that are produced and shipped by Amazon. Plaintiffs titled their collection the

      “Wardrobe Essentials Club” and designed a number of black, white, and grey loungewear

      and athletic apparel. See Ex. A, at p.61.

32.      On or around October 27, 2023, Defendants also published their own brand of apparel

      through Amazon’s Merch on Demand platform titled “Retail Therapy Club”. Defendants also

      designed a number of black, white, and grey loungewear and athletic apparel.

33.      Many of the articles of apparel in Defendants’ Merch on Demand collection featured

      substantial similarities to those of Plaintiffs’ collection, including similar placement of text

      and script font on black hooded sweatshirts. See id.

34.      From at least as early as January 2023 until the time of this action, Defendants have

      posted at least twenty posts on Instagram, at least nineteen posts on TikTok, and at least

      twelve posts on Amazon Storefront that directly replicate the products, poses, and/or styling

      of posts by Plaintiffs on the same respective platforms. Defendants’ duplicative posts

      perform, on average, more successfully than nonduplicative posts by Defendants and gain

      higher views and interactions on the respective platforms.

35.      Plaintiffs have tried to remedy Defendants’ ongoing infringing behavior through

      contacting Defendants directly and, when such contact proved unfruitful, through submitting

      copyright infringement reports to Amazon, Meta (which governs such claims for content

      posted on Instagram), and TikTok. On or around November 31, 2023, Plaintiffs, by and




                                                  13
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 14 of 29




      through their appointed counsel, sought to cause Defendants to cease and desist their

      infringing behavior through a demand letter describing the same. Defendants failed to take

      any action. On or around January 29, 2024, Plaintiffs, by and through the undersigned

      appointed counsel, again made demand on Defendants to cease and desist. Defendants denied

      any infringing behavior and have continued to post infringing content.

36.      On or around January 30, 2024, Plaintiffs submitted copyright infringement reports

      reporting fifteen posts to TikTok, eighteen posts to Instagram, and fourteen posts to Amazon.

      Each platform promptly removed the infringing content. On February 2, 2024, Plaintiffs

      submitted copyright infringement reports reporting an additional thirteen posts to TikTok.

      Despite the platforms’ removal of such content as infringing, Defendants have reposted

      certain photo works, after initial posts were removed, that infringe upon Plaintiffs’

      Registered Works. See Ex. A pp. 43-49. In light of Defendants’ ongoing willful infringement,

      Plaintiffs now submit this lawsuit.

                                               COUNT ONE

                    Federal Copyright Infringement — 17 U.S.C. § 501 et seq.

37.      Plaintiffs reallege and hereby incorporate by reference the allegations made in the

      foregoing paragraphs of this Petition.

38.      The owner of a copyright has the exclusive rights to reproduce the copyright work. 17

      U.S.C. § 106. Here, Plaintiff Sydney Nicole Gifford owns the copyright to each photo, video,

      text caption, and in-video text that she authored and posted on Plaintiffs’ Platforms. Sydney

      is the owner of each Copyright Registration included in the Registered Works and copies of

      such certificates showing the same are submitted as Exhibit B.




                                                  14
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 15 of 29




39.      On information and belief, one or more Defendants had access to and copied, reproduced,

      distributed, adapted, publicly displayed copies of, made derivative works of, and/or

      otherwise exploited Plaintiff’s Registered Works for financial gain without Plaintiff’s

      approval, in violation of Plaintiff’s copyrights.

40.      Specifically, Defendants have infringed Plaintiff’s copyrighted materials by copying

      constituent elements of Plaintiff’s works that are original and by reproducing Plaintiff’s

      copyrighted works. In at least thirty photo posts across Defendants’ Platforms, Defendants

      have featured identical products featured in posts on Plaintiffs’ Platforms with identical

      styling, tone, camera angle, and/or text. See Ex. A. In addition, Defendants have posted

      nearly identical videos to each of Plaintiffs’ motion picture/video Registered Works. See id.

      This conduct, individually and cumulatively, constitutes infringement of Plaintiff’s

      Registered Works and their exclusive rights under copyright in violation of 17 U.S.C. § 501

      et seq. The acts of infringement are set forth in Ex. A, pp. 2-49.

41.      Each unauthorized use of Plaintiff’s copyrighted work constitutes a separate and distinct

      act of infringement. Each instance of loading the infringing content onto a user’s end device

      constitutes a separate and distinct act of reproduction by Defendants and therefore

      infringement.

42.      The acts of infringement by Defendants have been willful, intentional, and purposeful, in

      reckless disregard of and with indifference to the rights of Plaintiffs. Defendants knew the

      posts were directly copying Plaintiffs’ posts. Further, Defendants have reposted infringing

      content that violates Plaintiff’s Registered Works even after initial posts by Defendants were

      removed by TikTok, Instagram, and/or Amazon pursuant to copyright infringement reports.

      See Ex. A, pp. 43-49.


                                                    15
               Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 16 of 29




43.       As a direct and proximate result of Defendants’ actions, Plaintiffs have suffered

      economic and other damages for which Plaintiffs now sue. Plaintiffs have suffered monetary

      loss due to the unlawful infringement of the Registered Works.

44.       Pursuant to 17 U.S.C. § 504(b), Plaintiffs are entitled to recover their actual damages and

      all profit each Defendant has made because of their wrongful conduct for each infringement

      of the Registered Works. In the alternative, as applicable pursuant to 17 U.S.C. § 504(c)(1),

      Plaintiffs are entitled to elect at any time before final judgment is rendered, to recover an

      award of statutory damages for all infringements with respect to any one work in the

      Registered Works in the sum of not more than $30,000 as the Court considers just; and if the

      Court finds the infringement was committed willfully, the Court in its discretion may

      increase the award of statutory damages to a sum of not more than $150,000.

45.       Pursuant to 17 U.S.C. § 505, Plaintiffs request an award of its full attorneys’ fees and

      costs.

46.       Plaintiffs are further entitled to injunctive relief and an order compelling the removal

      and/or impounding of all infringing materials distributed, published, or provided to others by

      Defendants. Plaintiffs have no adequate remedy at law for Defendants’ wrongful conduct

      because, among other things: (i) Plaintiffs’ copyrights are unique and valuable property that

      have no readily determinable market value; (ii) the infringement harms Plaintiffs such that

      Plaintiffs could not be made whole by any monetary award; and (iii) Defendants’ wrongful

      conduct, and the resulting harm to Plaintiffs, is continuing.

                                            COUNT TWO

                    Vicarious Copyright Infringement — 17 U.S.C. § 501 et seq.




                                                   16
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 17 of 29




47.      Plaintiffs reallege and hereby incorporate by reference the allegations made in the

      foregoing paragraphs of this Petition.

48.      Each Defendant has, and had, the right and ability to supervise the infringing content.

      Defendants have, at all times relevant to this action, controlled the Instagram, Amazon,

      bio.site, and TikTok accounts belonging to @alyssasheill, @alyssasheil, and Alyssa Sheil,

      respectively. Defendants have exercised the right and ability to supervise what content is

      posted on the platforms and which users follow the platforms.

49.      Each Defendant has, and had, an obvious and direct financial interest in the exploitation

      of copyrighted materials. Each instance of a third party accessing, downloading, interacting

      with, and/or viewing the infringing content contributed to a higher performance rate of

      Defendants’ posts, including higher views, engagement, and sales of products featured in the

      infringing content. This directly corresponds to higher commission obtained by Defendants.

50.      The acts and conduct of Defendants, as alleged above, constitute vicarious copyright

      infringement.

51.      The acts of infringement by each Defendant have been willful, intentional, and

      purposeful, in reckless disregard of and with indifference to the rights of Plaintiffs.

52.      As a direct and proximate result of the Defendants’ actions, Plaintiffs have suffered

      economic and other damages for which Plaintiffs now sue. Pursuant to 17 U.S.C. § 504(b),

      Plaintiffs are entitled to recover their actual damages and all profits each Defendant has made

      because of their wrongful conduct.




                                                   17
               Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 18 of 29




53.       Alternatively, pursuant to17 U.S.C. § 504(c)(1), Plaintiffs are entitled to elect any time

      before final judgment is rendered, to recover an award of statutory damages for all

      infringements with respect to any one of the Registered Works, as applicable, in the sum of

      not more than $ 30,000 as the Court considers just, and if the Court finds the infringement

      was committed willfully, the Court in its discretion may increase the award of statutory

      damages to a sum of not more than $150,000.

54.       Pursuant to 17 U.S.C. § 505, Plaintiffs request an award of their full attorney fees and

      costs.

55.       Plaintiffs are further entitled to injunctive relief and an order compelling the removal

      and/or impounding of all infringing materials distributed, published, or provided to others by

      Defendants. Plaintiffs have no adequate remedy at law for Defendants’ wrongful conduct

      because, among other things: (i) Plaintiffs’ copyrights are unique and valuable property that

      have no readily determinable market value; (ii) the infringement harms Plaintiffs such that

      Plaintiffs could not be made whole by any monetary award; and (iii) Defendants’ wrongful

      conduct, and the resulting harm to Plaintiffs, is continuing.

                                           COUNT THREE

                Digital Millennium Copyright Act Violation — 17 U.S.C. § 1201 et seq.

56.       Plaintiffs reallege and hereby incorporate by reference the allegations made in the

      foregoing paragraphs of this Petition.

57.       Section 1202(c) of Title 17 defines Copyright Management Information (“CMI”) to

      include, among other things, “[t]he name of, and other identifying information about, the

      copyright owner of the work, including the information set forth in a notice of copyright” and



                                                   18
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 19 of 29




      “[i]dentifying numbers or symbols referring to such information or links to such

      information.”

58.      Courts have recognized identifying information of copyrighted work, such as file names

      and information appearing under a copyrighted work, to constitute CMI. See, e.g., Energy

      Intelligence Grp., Inc. v. Kayne Anderson Capital Advisors, L.P., 948 F.3d 261, 277 (S. D.

      Tex. Dec. 16, 2020 – Houston) (“CMI is defined broadly”).

59.      Section § 1202(b) of Title 17 further prohibits any person who, without the authority of

      the copyright holder, (1) intentionally removes CMI, (2) distributes products knowing that

      CMI has been removed or (3) distributes copies of works knowing, or having reasonable

      grounds to know, that it will induce, enable, facilitate, or conceal an infringement of any

      right under the Copyright Act.

60.      Defendants violated § 1202 of Title 17 when they intentionally created indistinguishable

      posts from Plaintiffs’ posts that were published under Plaintiffs’ usernames and published

      and distributed unauthorized posts copying Plaintiffs’ work under the names “Alyssa Sheil”,

      “@alyssasheil” or “@alyssasheill” without any reference to Plaintiffs. Example of such posts

      are set forth in Exhibit A.

61.      Defendants knew that CMI had been removed from Plaintiffs’ copyrighted work without

      Plaintiffs’ authority and knew that such publication and distribution would induce, enable,

      facilitate, or conceal an infringement. Such intentional conduct did result in infringement of

      Plaintiffs’ intellectual property. Defendants viewed Plaintiffs’ content on Plaintiff’s

      Platforms and intentionally replicated and recreated the content to publish on Defendants’

      Platforms.




                                                 19
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 20 of 29




62.       Defendants’ conduct was done willfully, intentionally, and in reckless disregard of

      Plaintiffs’ rights.

63.       As a direct and proximate result of Defendants’ actions, Plaintiffs have suffered

      economic and other damages for which Plaintiffs now sue. Plaintiffs have suffered monetary

      loss due to the Defendants’ conduct.

64.       Pursuant to 17 U.S.C. § 1203(c)(2), Plaintiffs are entitled to its actual economic and other

damages resulting from Defendants’ violations, together with the profits they have earned.

Alternatively, pursuant to 17 U.S.C. § 1203(c)(3), Plaintiffs are entitled to elect statutory

damages in the sum of not more than $25,000 for each violation of §1202(b).

65.       Pursuant to 17 U.S.C. § 1203(b)(4) & (5), Plaintiffs request an award of their full

      attorneys’ fees and costs.

                                             COUNT FOUR

                                      Trade Dress Infringement

66.       Plaintiffs reallege and hereby incorporate by reference the allegations made in the

      foregoing paragraphs of this Petition.

67.       Trade dress refers to the total image and overall appearance of a particular good or

      service and may include features such as the color, color combinations, textures, and graphics

      of the good or service in question. Courts have extended trade dress protection to the overall

      “motif” of a restaurant, layout and appearance of a mail-order catalog, and even the sight and

      feel of a website. Test Masters Educ. Servs. v. State Farm Lloyds, 791 F.3d 561, 565 (5th Cir.

      2015).




                                                   20
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 21 of 29




68.      Plaintiffs have a distinctive trade dress comprised of monochrome cream, grey, and

      neutral-beige colors coupled with modern, minimal, sophisticated styling of Amazon

      products via Plaintiffs’ Platforms. Markers of Plaintiffs’ distinct trade dress include:

      promotion of products only falling within the monochrome cream, grey, and neutral-beige

      color scheme; styling of products in modern, minimal backdrops; creation of content

      featuring Sydney herself; and Sydney’s distinct relatable way of speaking to followers.

69.      Plaintiffs have gained recognition for their distinctive trade dress and have gained nearly

      half a million followers on TikTok alone. Plaintiffs’ trade dress is primarily nonfunctional

      and serves only to differentiate Plaintiffs from other sources.

70.      Defendants have intentionally copied and attempted to replicate Plaintiffs’ trade dress.

      Defendants have directly copied and infringed on Plaintiffs’ intellectual property rights by

      promoting the same monochrome cream, grey, and neutral-beige products featured on

      Plaintiffs’ Platforms with the same modern, minimal, and sophisticated styling and backdrop.

      Defendants have further tried to imitate Sydney’s appearance and sound by copying

      Sydney’s haircut, apparel, and way of speaking.

71.      There is a likelihood that Defendants’ trade dress will lead to customer confusion.

      Defendants’ replication of Plaintiffs’ trade dress will confuse followers as to the source of the

      goods and services. Defendants’ mimicry of Plaintiffs’ appearance and the overall image

      associated with Plaintiffs’ brand, such as the content and appearance of Plaintiff’s Platforms,

      the parties’ respective bio.site websites, and the parties’ respective apparel lines, causes the

      two to be so similar that followers will be and are unable to differentiate between the two. On

      information and belief, actual instances of consumer confusion have occurred.




                                                   21
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 22 of 29




72.      The likelihood of confusion is further exacerbated by the algorithm employed by social

      media platforms such as TikTok, which recognizes colors, shapes, and stylings, among other

      factors, to suggest videos users may be interested in. Users may watch one of Plaintiffs’

      videos and immediately be recommended one of Defendants’ videos because of the stark

      similarities in trade dress and feature of identical products. In such circumstance, a user is

      likely to confuse the two videos as coming from the same source.

73.      By reason of the foregoing, Defendants are liable for monetary damages plus interest.

                                            COUNT FIVE

                                          Misappropriation

74.      Plaintiffs reallege and hereby incorporate by reference the allegations made in the

      foregoing paragraphs of this Petition.

75.      Defendants appropriated Plaintiff Sydney Nicole Gifford’s likeness for the value

      associated with it. Defendant Alyssa imitated outfits, poses, hairstyles, makeup, and the

      manner of speaking of Sydney to produce a virtually indistinguishable replica of Sydney’s

      likeness. Defendant Alyssa has gone so far as to obtain a flower tattoo on her upper arm that

      is nearly identical to a flower tattoo Sydney has on her upper arm. See Ex. A, at pp. 51-52.

76.      Plaintiff can be identified from the publication. Sydney has obtained publicity and fame

      for her likeness, including her outfits, poses, hairstyles, makeup, and voice, and has gained

      over half a million followers on Plaintiffs’ Platforms. It is possible for Plaintiffs’ followers

      and others who are familiar with Sydney to identify her as the individual whom Defendants’

      posts appropriate.

77.      Defendants received a benefit from the appropriation. The posts on Defendants’

      Platforms that appropriate Sydney’s likeness have performed more successfully than other


                                                  22
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 23 of 29




      posts by Defendants, gaining at least triple the views on average. Based on the commission

      model of the influencer industry, Defendants have gained monetary compensation for this

      increased performance.

78.      Defendants’ wrongful acts caused injury to Plaintiffs, which resulted in the following

      damages: monetary loss due to the Defendants’ appropriation and mental anguish damages

      from the unlawful use of Sydney’s likeness. Sydney has suffered mental anguish from

      Defendants’ misappropriation of her likeness and such misappropriation has negatively

      impacted Sydney’s productivity and creativity with respect to her influencer work.


                                               COUNT SIX

                    Tortious Interference with Prospective Business Relations

79.      Plaintiffs reallege and hereby incorporate by reference the allegations made in the

      foregoing paragraphs of this Petition.

80.      Plaintiffs have had a continuing business relationship with Plaintiffs’ followers across

      Plaintiffs’ Platforms for up to five years. Plaintiffs have gained credibility as a reliable and

      relatable referral source for apparel, accessories, and household items from Amazon and

      continue to engage prospective new followers through the success of Plaintiffs’ posts.

81.      In addition, in 2022, Plaintiff Sydney Nicole LLC entered into an agreement with

      Amazon for the promotion of certain products sold by Amazon sellers. By the terms of this

      agreement, Plaintiffs gained commission on purchases made by followers through Plaintiffs’

      online portal on Amazon Storefront. A higher number of purchases made by Plaintiffs’

      followers resulted in a higher number of generated revenue and therefore greater

      opportunities for Plaintiffs with Amazon.



                                                  23
           Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 24 of 29




82.      On or about January 2023, Defendants began to interfere with Plaintiffs’ existing and

      prospective business relationships. Defendants embarked on a pattern of replicating

      Plaintiffs’ posts on Plaintiffs’ Platforms, copying products listed by Plaintiffs on Amazon

      Ideas Lists, and impersonating Sydney.

83.      Defendants interfered with Plaintiffs’ continuing and prospective business relations,

      including Plaintiff’s agreement with Amazon, by engaging in the appropriation and

      infringement of Plaintiffs’ intellectual property and Sydney’s likeness. This conduct caused

      Plaintiffs to lose prospective and existing followers and user engagement due to confusion

      between the parties’ accounts and has caused Plaintiffs to experience a decrease in sales

      commission.

84.      Defendants acted with knowledge that Defendants’ conduct was substantially certain to

      cause interference with the relationship between the Plaintiffs and Plaintiffs’ existing and

      prospective followers and Amazon. Defendants copied dozens of Plaintiffs’ posts and

      products listings days or weeks after Plaintiffs posted them on Plaintiffs’ Platforms.

      Defendants further blocked Plaintiffs from viewing Defendants’ accounts on those same

      platforms, indicating Defendants’ knowing interference.

85.      As a direct and proximate result of Defendants’ interference, Plaintiffs have incurred

      monetary damages and decreased rate of growth in followers because of Defendants’

      knowing interference.

86.      Defendants’ tortious interference was committed with fraud, malice, or gross negligence,

      as Defendants continue to knowingly interfere with Plaintiffs’ existing and prospective

      business relations despite receiving formal demand to cease and desist such wrongful

      conduct. As a result, punitive damages should be assessed against Defendants.


                                                 24
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 25 of 29




                                          COUNT SEVEN

              Unfair Trade Practices & Unfair Competition — 28 U.S.C. § 1338(b)

87.      Plaintiffs reallege and hereby incorporate by reference the allegations made in the

      foregoing paragraphs of this Petition.

88.      In the alternative, after January 2023, and continuously since January 2023, Defendants

      have been copying products from Plaintiffs’ social media accounts and Amazon Storefront

      Ideas Lists and publishing and promoting infringing works that feature those same products

      in nearly identical styling as featured in Plaintiffs’ works. Defendants have thus been

      engaging in unfair trade practices and unfair competition against Plaintiffs. This conduct has

      caused Plaintiffs irreparable injury and Plaintiffs have experienced decreased views,

      decreased rate of gain in followers, and commission as a result of Defendants’ conduct.

                                          COUNT EIGHT

                                         Unjust Enrichment

89.      Plaintiffs reallege and hereby incorporate by reference the allegations made in the

      foregoing paragraphs of this Petition.

90.      In the alternative, Plaintiffs ask this Court to put the parties in the respective places they

      would be absent Defendants’ unlawful conduct. Defendants received a benefit from

      Plaintiffs. Defendants copied Plaintiffs’ social media and Amazon Storefront posts and

      product listings in order to receive higher views on those platforms and thereby higher

      commission.

91.      Defendants received, on average, higher views on posts that Defendants copied from

      Plaintiffs and received higher commission as a result.


                                                  25
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 26 of 29




92.      The benefit was conferred to the detriment of Plaintiffs. Plaintiffs have experienced

      decreased views, decreased rate of gain in followers, and commission as a result of

      Defendants’ conduct.

93.      There is no contract between the parties. While the parties once considered ways to

      mutually support one another’s businesses on or around December 2022, no agreement was

      ever reached.

94.      Plaintiffs have been damaged by Defendants’ unjust enrichment from Plaintiffs’

      conferred benefit and thereby seek damages to restore the parties’ respective positions prior

      to Defendants’ unlawful conduct.

               REQUEST FOR PRELIMINARY INJUNCTION – 17 U.S.C. § 502

95.      Plaintiffs seek to enjoin Defendants and their agents and representatives from (i)

      engaging in any conduct that directly or indirectly infringes Plaintiffs’ copyrighted work; (ii)

      engaging in any conduct that appropriates or imitates Plaintiff Sydney Nicole Gifford’s name

      or likeness; and (iii) accessing, viewing, copying from, or in any other way interacting with

      Plaintiffs’ Platforms, including but not limited to Plaintiffs’ Instagram, TikTok, Amazon

      Storefront, and bio.site website.

96.      There is a substantial likelihood that Plaintiffs will prevail on the merits. Defendants’

      infringing activity has been so apparent that even third parties have approached Sydney about

      the subject. Further, legal and compliance teams from Instagram, Amazon, and TikTok have




                                                  26
            Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 27 of 29




      all removed various posts by Defendants that infringe on Plaintiffs’ rights pursuant to

      copyright infringement reports submitted on behalf of Plaintiffs. 1

97.       Despite some of Defendants’ material being removed, Defendants have continued to copy

      Plaintiffs’ material since Plaintiffs have demanded Defendants to cease and desist even

      though the service providers have removed Defendants’ content from the respective

      platforms. If the Court does not grant a preliminary injunction, Defendants will continue their

      activities that infringe on Plaintiffs’ intellectual property rights.

98.       Plaintiffs will likely suffer irreparable injury if the Court does not enjoin Defendants

      from viewing and copying Plaintiffs’ content because Defendants will continue distributing

      infringing material, which cannot be retrieved, and viewers will continue to mistake

      Defendants’ posts for Plaintiffs’, resulting in continued declining views and revenue for

      Plaintiffs.

99.       Defendants will not suffer undue hardship or loss as a result of the issuance of a

      preliminary injunction, as Defendants will remain free to create their own unique content and

      promote products of their own choosing on their sites.

100.                Issuance of a preliminary injunction would not adversely affect the public interest,

      as it is in the public interest for influencers to create and promote their own unique content.

101.                Plaintiffs ask this Court to set this request for preliminary injunction for hearing at

      the earliest possible time and, after hearing the request, to issue a preliminary injunction

      against Defendants.



1
  Plaintiffs note that TikTok has indicated that the infringing content reported by Plaintiffs on February 2, 2024 has
been restored pursuant to a counter-notification submitted by Defendants. However, as of the time of this filing, the
reported links remain deactivated on TikTok.


                                                          27
          Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 28 of 29




102.           Plaintiffs have no adequate remedy at law for Defendants’ wrongful conduct

   because, among other things: (i) Plaintiffs’ copyrights and likeness are unique and valuable

   property that have no readily determinable market value; (ii) Defendants’ wrongful acts harm

   Plaintiffs such that Plaintiffs could not be made whole by any monetary award; and (iii)

   Defendants’ wrongful acts, and the resulting harm to Plaintiffs, is continuing.

                                         JURY DEMAND

103.           Plaintiffs assert their rights under the Seventh Amendment to the U.S.

   Constitution and demand, in accordance with Federal Rule of Civil Procedure 38, a trial by

   jury on all issues so triable.

                                    CONDITIONS PRECEDENT

104.           All conditions precedent to Plaintiff’s claim for relief have been performed or

   have occurred.

                                           DAMAGES

105.           As a direct and proximate result of defendant's conduct, plaintiff suffered the

   following injuries and damages: actual damages, statutory damages pursuant to 17 U.S.C.

   §§ 504(c) and 1203, lost profits, lost earnings, and mental anguish in the past and future.

                                             PRAYER


               WHEREFORE, Plaintiffs Sydney Nicole LLC and Sydney Nicole Gifford

respectfully request that Defendants Alyssa Sheil LLC and Alyssa Sheil be cited to appear and

answer and that upon a final hearing of this matter, that the Court enter judgment in favor of

Plaintiffs against Defendants, jointly and severally, and award to Plaintiffs:




                                                 28
  Case 1:24-cv-00423-RP Document 1 Filed 04/22/24 Page 29 of 29




        (a)    Damages in an amount to be determined at trial, plus the amount of

Defendants’ profits attributable to the infringement, or in the alternative, statutory

damages, as authorized by 17 U.S.C. § 504(c), as applicable;


        (b)    Additional damages, as applicable, for willfully infringing Plaintiffs’

copyright, as authorized by 17 U.S.C. § 504(c)(2);


        (c)    Prejudgment and post-judgment interest at the maximum permissible rate;


        (d)    Costs of court;


        (e)    Attorneys’ fees;


        (f)    A preliminary injunction enjoining Defendants from engaging in further

harmful conduct to Plaintiffs as requested herein; and


        (g)    Such other and further relief to which Plaintiffs may be entitled at law or

in equity.


                                             Respectfully submitted,

                                             By: /S/ Kirsten Kumar
                                             Kirsten Kumar
                                             Texas Bar I.D.: 24126104
                                             kkumar@thekumarlawfirm.com
                                             The Kumar Law Firm PLLC
                                             2110 Ranch Road 620 S, #341060
                                             Lakeway, TX 78734
                                             Phone: (512) 960-3808
                                             ATTORNEYS FOR PLAINTIFFS




                                        29
